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                                          Mesothelioma Cases with Exposure to Libby A~   )os as a significantfactor (Death Date Order)
        Name                         Dates of Work          Exp Cat. .       Libby·           Law Firm     DOB         Death         Path          Verified Residence
                                     at Grace                                Residence                                 Certificate                          at Death
1       Flatt, Marvin A.             family member           Family Member 41-59              MHSM         1/1/41      Alive         9/6/06        Yes

2 Skidmore, Victoria                 environmental           Community       73-07            MHSM         6/7/36      Alive             10/12/95, Yes
        Depo date: 10/18/05                                                                                                              3/27/02

3       Chappel, Harold T.          . 6/20/58 - 7/27/62      Worker          58-68            Worthington 7/17/36      Alive             5/18/07   Yes
                                      (Lumbermill 63-68)

4       Bentley; George W.(?)        11/13/53 - 2/15/54      Worker                                        4/20/07· No record                      No

4       Bentley, Jr., George W.(?) 5/19/67 - 8/13176         Worker                                         6/18/40     N.o record

5       Hutton, Jack                 . 9/12/62 - 9/24/62     Worker                                         1/21/34     No record                  No

6       Not disclosed              worker                 Worker                              -            ?         ?
        (Peritoneal meso referenced at McDonald (1986) "Cohort Study of Mortality of Vermiculite Miners Exposed to Tremolite". p. 441.)            Yes

7        Roberts, Ernest F.           environmental          Community                                      4/22/18     4/11178 '                  No       Libby.
                                                                                                                        (not meso)                          MT

    8    Olson, Verle L.              9/9/50 - 3/31/62        Worker'                                       4/21/19     9/25179                    Yes      Libby,
                                                                                                                        meso                                MT

    9    Peterson, Clarence A.        10/21/46 - 6/27/53      Worker                                        8(24/18     5/24/80                    Yes      San Joaquin,
         (see Exh. 193, 12112/80)                                                                                       meso                                CA

    10 Baker, Morland                 1/29/47 - 9/12/49       Worker                                        7/27/27     5/27/82                     Yes     Los Angeles,
                                                                                                                        meso                                CA

    11 McNair, Michael S.             2/1143 - 3/31175        Worker                                         3/15113     5/8/83           4/5/83    Yes     Libby,
                                                                                                                         possible meso                      MT

                                       9/4/62 - 6/21/65       Worker                                         9/11/31     4/12/84                    Yes     Butler,
    12 Kimble, Jr., Hord M.
                                                                                                                         meso                                KY

                                                              Worker                                         10129/12 3/19/87                       Yes      Spokane,
    13 Johnson, Ronald B.              5/5160 - 9/10176
                                                                                                                         meso                                WA

                                                                                                LSK          10/20/28, 12/3/91            9/5/90    Yes      Troy,
    14 Lockwood, Darrell W.            6/29/74 - 4/26/84      Worker
                                                                                                                         meso                                MT

                                                                                         1                                                                   12116/2008
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              ,,-.
                -
                                      Mesothelioma Cases with Exposure to Libby A:vtos as a significant factor (Death Date Order)
                                                                                        -                                                                     ~
   Name                         Dates of Work               ExpCat            Libby             Law Finn   DOB        Death             Path        Verified Residence
                                at Grace                                      Residence                               Cert.ificate                           at Death
15 Calkins, John B.             1/31/5.2 - 10/15/58         Worker                                         3/9/21     11/17/92                      Yes      Wauwatosa,
                                                                                                                      meso                                  WI

16 .Wittlake, Jr., Edward        9/22/51 - 8/1/64           Worker                                         9/11/25    4/15/93                       Yes     Pablo,
                                                                                                                      meso                                  MT

17 Harrison, Jack E.              environmental             Community         summers 80-86 MHSM           4/30/24    6/2195·           6/21/05 Yes         Lakewood,
                                . libby resident 5 years·                                                              meso             Clifford Itr        CO

18 Faris, George R.              environmental              Community         53-94 .           MHSM       8/29/23     8/9/96                       Yes     Colorado Springs,
                                 (Lumberrnill 53-85)                                                                   meso                                 CO

19 Graham, Robert L.             8/22/62 - 2/16/90          Worker            62-98             MHSM       11/5/27     1/9/98           2/19/97     Yes    , Libby,
    Depo Date: 9/4/97, 9/5/97                                                                                          meso                                  MT

20 Roberts, James W.             environmental              Community         31-98             MHSM       1/23/28      5/13/98         2/13/01 Yes          Libby,
                                                                                                                      . (cancer of      Hammar               MT
                                                                                                                        soft palate)    meso

21 Riley, Darlene Toni           environmental·             Community         44-51, 56-98, MHSM            11/9/44    12/4/98 .        4/15/96     Yes      Libby,
   Depo date: 12110/96                                                        summers 51-54                            meso                                  MT

 22 Orem, Loreta E.               family member              Fainily Member                      Kaeske     2/16/51    4/23/00          12/9/99     Yes      Sugar Hill,
                                                                                                                       meso                                  NH

 23 Garrison, Sr., Daniel         12/6/56 - 1/23/57          Worker            31-38,40-00       LSK        8/6/31      817/00          3/1/00      Ves      Troy,
                                  (Lumbermill51-52)                                                                     meso                                 MT

 24 Lyle, John B.                 11/9/67 - 10/93            Worker            44-60, 65-01      MHSM       3/13/40     1/16/01          6/10/99     Yes     Troy,
                                . (Lumbermill 59-60)                                                                    meso                                 MT

 25 Sanderson, J. Everett         environmental           Community            approx 60-70                 5/15/20     2002·         4/23/02        Yes
                                  Libby resident 10 years                                                               meso? No record
                                  early 60s to early 70s

                                  erivironmental             Community         72-76, 84.,.02    MSHM       12/8/28     4/1/02           1/11/00     Yes      Libby, '
 26 Wilson, Ford E.
                                                                                                                        (lung cancer)    cytology             MT

                                                                                                 MHSM'      4/14/25     9/1102           5/13/02     Yes      Libby,
                                   environmental             Community         50-02
 27 Trimble, Elizabeth P.                                                                                               meso                                  MT

                                                                                            2                                                                 12/16/2008
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                               Mesothelioma Cases with Exposure to Libby Av,tos as a significant factor (Death Date Order)
              "--'                                                                                                                               -....J;
   Name                   Dates of Work             Exp Cat     . Libby·            La\!V Firm   DOB·       Death         Path        Verified Residence
                          at Grace                                Residence                                 Certificate                        at Death
28 Gerard, Carol A.       environmental             Community     68-85             MHSM         1fi/47     5/23/03 .     9/12100,    Yes      West Valley City,
                                                                                                            meso·         5/23/03              UT

29 Ferguson, Gordon A.    6/17/42 - 5/31/46         Worker                                       8/9/23     3/26/04 .                 Yes      Spokane,
                                                                                                            presumed meso                      WA

30 Pederson, Arnold M.      environmental           Community     vacationed 605,                1213/22    9/15/04       6/8/04      Yes·     Libby,
                            vacationed in Libby                   94-04                                     meso                               MT
                            several we~ks
                          . each summer (19605)

31 Davidson, James E.      6/12/53 - 10/23/53       Worker        34-06             LSK          12131/34 7fi/06            10/17/03 Yes        Libby,
   Depo Date: 6/9/05       (Lumbermill 54-92)                                                             meso                                  MT

32 Skramstad, Lester L.    8/26/59 - 7/15/61        Worker        54-58, 59-61,     MHSM         6/6/36      1/21/07        11/3/06   Yes       Libby,
                           (Lumbermill 54-57)                    .66-07                                      meso                               MT

33 Hansen, David L.        10/17/51 - 6/16/56       Worker         51-56,58-59,      MHSM        11/23/24 5/26/07           5/22107   Yes       Kooskia,
                           (Lumbermill 58-59)                      86-87                                   .. meso                              10

 34 Nicholls, Alvin R.     6/4/58 - 11/17fi8 .      Worker         43-44,46-07       MHSM        4fi/26      10/31/07       6117106   Yes       Libby,
                           I(Lumbermill 43,46-47)                                                            meso                               MT




                                                                              3                                                                  12116/2008
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                                 SUMMARY OF DECEASED CLIENTS CHART (MHSM)
              728 total LIBBY CLIENTS

              Death Due to .                  Mine- Family                                    Percentage of
    ')        Asbestos Disease? 1            worker Member           Community      Total           Yes/No
              Undetermined                           0          0               3       3

             YES                                 54         21              28        103               73%

             NO                                  19          3              17.        39
             Total                               73         24              48        145


           Asbestos Disease?
           "Yes" per Best Evidence           Mine- Family                                     Percentage of
           Review                           worker Member· Community                Total           Yes/No
         . Mesothelioma                           5          0               7         12                   8%

             Lung Cancer                         12          4               2         18               13%

             Asbestosis                         34          16              17        67                47%

             Other Asb Related Cancer 2 .        3          1                2         6                 4%
             Total for all asbestos             54         21               28       103                73%
             related diseases
    )
          Asbestos Disease "Yes"             Mine- Family                                    Percentage of
          Per Death Certificate:            worker Member           Community       Total          YeslNo
          Mesothelioma                           5          0               5         10                    7%

          Lung Cancer                            8          4               3         15                11%

         Asbestosis·                            24         12              13         49                35%

         . Other Asb Related Cancer 2 .         4           1               3          8                 6%
           Total for all asbestos              41          17              24         82                58%
           related diseases

         "Mineworker" includes subcontracted employees
         1 Asbestos disease was at least a significant contributing factor in the death.
         2 Includes laryngeal and GI cancers (esophageal,· stomach, colon, rectum)
            per Selikoff and Seidman (1992)

         NO DEATH CERTIFICATES:                      Undetermined
         N/A                                         David Andersen (C).
)                                                    Thomas Bachetler (C)
                                                     Eunice Burrese (C)
                                                                                                  EXHIBIT

                                                                                             I        /tJ
                                                     Case 01-01139-AMC   DocCLlEN0'Jeath
                                                                    DECEASED 22766-37 Filed
                                                                                         Date08/13/09
                                                                                              Oi'der)                                   Page 5 of 5
                 "-'                                                                                                                                                                 ~
LastName                   I
               FirstName Exp Cat            Libby     , Date of      ICause per DC                                             DC signed      Date of Dr 'IAS~ dis Grace                       I
                                                                                                                                                                                 Grace End Residence
                                            Residence    Death                                                                  by Dr:          letter      ~ Start                        at Death
                                                                                                                                                          factor?

Engle          Rudolph     Worker            36-60        8/24/1960 IBronchogenic Carcinoma (1 month)                         J.W: Lynch     IExh 225     IYes     7/12/1946     18/15/1960    ILibby, MT
                                                                     Cerebral Metastases
                                                                     Carcinoma of the Lung as above
McQueen        Walter          Worker        44-66        10/30/19661Respiratory acidosis                                     Lyle D. Bolt   IExh 225     IYes     11/2411944 111111962        ILibby, MT
                                                                     PUlmona~ emphysema
                                                                     ? asbestosis
Kins           Lawrence        Worker        45-49         5/8/1975 IPulmonary fibrosis, & bronchiectasis (3 years)             Robert C.    8/9/04       IYes     1217/1946 11/3111949        IDover, ID
                                                                     etiology undetermined                                   , ·Lewis        (Whitehouse),
                                                                                                                                             Exh225
Cohenour       Robert          Worker        48-50,51-77\ 2/19/1977 IAdenocarcinoma of the lung                               PaulW.         Exh225        IYes    8/27/1948 11110/1974        ITroy, MT
                                                                                                                              Herron
Rayome         Richard         Worker        46-75       I 6/15/1980 ICarcinoma of lung                                       D.A.          Exh 225       IYes     5/7/1946      15/5/1975     ICoeur
                                                                                                                              Daugharty                                                       d'A1ene,ID
Ostheller      Harry           Worker        38-57, 66-831 12/12/1983 IRespiratory arrest (mins)                              Richard Irons                No      9/10/1968     111130/1982 ILibby, MT
                                                                       metastatic adenocarcinoma of,kidney ,
                                                                       Other significant conditions: COPD
Fredricks      Kenneth         Worker        56-91        I 1/12/1991 ICarcinoma R lung                                        R.H. Brus      Exh 225      Yes     2/24/1966     110/3111981 ILibby, MT
                                                                       Acute renal failure
                                                                       Emphysema
 Fields        Willis          Worker        40s-91 '     I 8/3111991 ICarcinoma of the lungs                                  Roger H. BrusExh 225        IYes    6/13/1946 1711/1984         ILibby, MT
                                                                       asbestosis of the lungs
 Oldham         George         Worker        55-93        I 6/19/1993 IRespiratory failure                                     Lawrence E. 15/16/98        IYes    1112/1955 13/11/1966        ILibby, MT
                                                                       Asbestosis, pneumonia, emphysema '                      Klock         (Whitehouse),
                                                                                                                                              Exh 225
 Dyer           Lester          Worker        20-38       I 5/211994 IRespiratory cardiac failure                              F.L.Bertaglio 15/29/07 '    INo      1/1/1932     11/1/1938         Deer Lodge,
                                                                       A~anced COPD                         "                                 (Whitehouse)                                         MT
                                                                       'Arteriosclerotic cardioperipheral vascular disease
                                                                        Congestive heart failure

 Harrison       Jack            Community     summers 801' 61211995 IMeSOtheliOma (mos)                                         Dennis                      Yes                                    Lakewood,
                                              86    , '                Asbestos exposl\re (yrs)                                 Clifford                                                           CO
                Rex             Worker        5Q.-55,57-961 2/11/1996 ILung cancer (1 month)                                    Robert C.   Exh 225        IYes     6/"18/1957    11/211987        Libby, MT
 Smith
                                                                                                                                Shenick
                                Worker        66-96        3/25/1996 Respiratory failure (2 years)                              Jon Johnson Exh 225        IYes     7/'15/1974 18/24/1987          Libby, MT
 Stufflebeam    Robert
                                                                     Chronic obstructive pulmonary disease (years)
                                                           6/25/1996 Carbon Dioxide narcosis (3 weeks)                          LeGrande       1/24/96 '    IYes                                   Libby, MT
 Vatland        Margaret        Family Memberl45-96
                                                                     ReStrictive AirWays Disease (4 years)                      Phelps'        (Whitehouse)
                                                                     Pulmonary Fibrosis (6 years)
                                                                     Pulmonary ASb9stosis (6+ years)
                                                                                                                                Robert                      Yes                                    Colaraqa
  Faris         George          Community     53-94        8/2911996 C~cheria and inanition (mo,nth)
                                                                     Diffuse metastatic disease (months)                        Stafford                                                           Springs,   co
                                                                     Mesothelioma of lung (months)
                                                                                                                                LeGrande       Exh 225      IYes     5/611960      13/411987        libby, MT
  Riley          Donald         Worker        51-58,60-971 2/26/1997 Pulmonary Fibrosis (9+ years)
                                                                     ~ulmonary Asbestosis (9 years)                             Phelps


                                                                                                      1                                                                               12115/2008
